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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

 

HOUSTON DIVISION
THE UNITED STATES OF AMERICA, )
)
Plaintiff, )
)
v. ) CIVIL ACTION NO. 4:09-cv-1058
)
FORT BEND COUNTY, TEXAS, ) CONSENT DECREE, JUDGMENT
) and ORDER
Defendant. )
)
)
)

 

The United States of America filed this action pursuant to Sections 4(f)(4) and 208 of the
Voting Rights Act of 1965, as amended, 42 U.S.C. §§ 1973b(£)(4) and 1973aa-6, and Section 302(a)
of the Help America Vote Act of 2002 (“HAVA”), 42 U.S.C. § 15482(a). The Court has jurisdiction
over the matter pursuant to 28 U.S.C. §§ 1331, 1345 and 42 U.S.C. §§ 1973j(d), 1973j(f), and 15511.

According to the 2000 Census, Fort Bend County had a total population of 354,450 persons,
of whom 74,785 (21.10%) were Hispanic. The total voting age citizen population was 213,097, of
whom 34,262 were Hispanic. Of Fort Bend County’s Hispanic voting age citizen population, 8,300
were limited-English proficient.

Fort Bend County is covered under Section 4(f)(4) of the Voting Rights Act, as amended, 42
U.S.C. § 1973b(f(4) (“Section 4(H(4)”), to provide Spanish language written materials and
assistance to voters. The State of Texas, including Fort Bend County, has been subject to the

requirements of Section 4(f)(4) since September 23, 1975. 40 Fed. Reg. 43,746; see also 28 C.F.R.

 

pt. 51, Appendix. As a result, Fort Bend County has been under notice of its obligations under
 

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Section 4(f)(4) since 1975. The Department of Justice has sent Fort Bend County and other covered
jurisdictions information regarding the bilingual election requirements of the Voting Rights Act.
Plaintiff alleges that Defendant has not complied with all of the requirements of Section 4(f)(4) for
Spanish-speaking citizens residing in Fort Bend County by failing to provide an adequate number
of bilingual poll officials trained to effectively assist Spanish-speaking voters on election day, and
by failing to provide in an effective manner certain election-related information to Spanish-speaking
voters.

Fort Bend County is subject to the requirements of Section 208 of the Voting Rights Act, as
amended, 42 US.C. § 1973aa-6 (“Section 208”). Section 208 provides that “[a]ny voter who
requires assistance to vote by reason of blindness, disability or inability to read or write may be given
assistance by a person of the voter’s choice, other than the voter’s employer or agent of that
employer or officer or agent of the voter’s union.” 42 U.S.C. § 1973aa-6. Plaintiff alleges that Fort
Bend County, through its employees and agents, prevented some limited-English proficient Spanish-
speaking voters from securing assistance at the polls necessary for their participation in the voting
process, in violation of Section 208.

Plaintiff also alleges that Defendant has failed to ensure that its polling places and poll
workers comply with the Help America Vote Act of 2002 (“HAVA”), 42 U.S.C. §§ 15301 et seq.,
as it applies to Federal elections. Among other things, Plaintiff alleges that the County has failed
to ensure that provisional ballots are provided to all voters in Federal elections who believe that they
are eligible to vote in the elections, even if the voter is not listed in the registration book. 42 U.S.C.
§ 15482(a). Further, Plaintiff alleges that the County has failed to ensure that all provisional voters

have received information on how to ascertain the outcome of their provisional ballots. 42 U.S.C.
 

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§ 15482(a)(5)(A). Plaintiff alleges that Fort Bend County has not met these HAVA requirements,
in part, because it fails to train its poll workers adequately, monitor poll workers’ compliance with
HAVA, or otherwise ensure compliance in its polling places.

To avoid protracted and costly litigation, the parties have agreed that this lawsuit should be
resolved through the terms of this Consent Decree (the “Decree’”’). Accordingly, the United States
and Defendant hereby consent to the entry of this Decree, as indicated by the signatures of counsel
at the end of this Order. The parties waive a hearing and entry of findings of fact and conclusions
of law on all issues involved in this matter. Each party shall bear its own costs and fees.

Without admitting or denying that it has not fully complied with all of the provisions of
Sections 4(£)(4) and 208 of the Voting Rights Act and Section 302(a) of the Help America Vote Act,
Defendant continues to be committed to comply fully with all of such requirements in future
elections. Therefore, to confirm its commitments, Defendant stipulates that each provision of this
Decree is appropriate and necessary.

Accordingly, it is hereby ORDERED, ADJUDGED, AND DECREED that:

1. Defendant, its agents, employees, contractors, successors, and all other persons
representing the interests of Defendant are hereby PERMANENTLY ENJOINED from:

a. Failing to provide in Spanish “any registration or voting notices, forms,
instructions, assistance, or other materials or information relating to the
electoral process, including ballots,” that they provide in English, as required
by Section 4(f)(4) of the Voting Rights Act, 42 U.S.C.

§ 1973b(£)(4);
 

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b. Prohibiting “[aJny voter who requires assistance to vote by reason of
blindness, disability, or inability to read or write . . . [to] be given assistance
by a person of the voter’s choice, other than the voter’s employer or agent of
that employer or officer or agent of the voter’s union,” 42 U.S.C. § 1973aa-6;
and

C. Failing to ensure that poll workers receive adequate training regarding the use
and distribution of provisional ballots under Section 302(a) of HAVA.

2. The terms of this Decree apply to all Federal, state, and local elections that are
administered by the County. Whenever Defendant enters into an election services contract with any
other entity, political subdivision, or political party to conduct an election on behalf of that entity,
Defendant shall require such entity to agree to abide by the terms of this Decree as if such entity were
a party to this Decree with the United States, and consistent with the responsibility of each entity to
comply fully with Sections 4(f)(4) and 208 of the Voting Rights Act and Section 302(a) of the Help
America Vote Act.

Assistors of Choice

3. Defendant shall ensure that Spanish-speaking voters who require assistance to vote
by reason of blindness, disability, or inability to read or write may be given or permitted assistance
from persons of the voters’ choice, other than the voters’ employers or agents of those employers or
officers or agents of the voters’ unions, and that such assistance shall include assistance in the voting
booth, including reading or interpreting the ballot and instructing voters on how to select the voters’

preferred candidates.
 

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Translation and Dissemination of Election-Related Materials

4, All information that is disseminated by Fort Bend County in English about
“tegistration or voting notices, forms, instructions, assistance, or other materials or information
relating to the electoral process, including ballots,” 42 U.S.C. § 1973b(f(4), shall also be provided
in the Spanish language.

5. Defendant shall ensure that all Spanish and English language election information,
materials, and announcements are made equally available. Spanish language information shall be
distributed to newspapers, radio, the Internet, and other media known to Defendant that exclusively
or regularly publish or broadcast information in Spanish to the local population. Defendant’s
distribution of these minority language announcements shall be in the form, frequency, and media
best calculated to achieve notice and understanding equal to that provided to the English-speaking
population and to provide substantially the same information, but need not be identical in all respects
to English language announcements.

Defendant may rely upon recommendations of the Advisory Group with regard to the |
requirements of this Paragraph.

Spanish Language Assistance

6. Spanish-language assistance shall be available at all locations where election-related
transactions are conducted, including early voting locations. Trained bilingual (Spanish and English
fluent) election personnel shall be available to answer voting-related questions by telephone without
cost during normal business hours and while the polls are open on election days. The County may

coordinate the provision of such services with other governmental entities that conduct elections.
 

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7, Fort Bend County and the Fort Bend County Elections Administrator shall recruit,
hire, and assign poll officials able to understand, speak, write, and read Spanish fluently to provide
effective assistance to Spanish-speaking voters at the polls on election days, including at early voting
locations.

8. Fort Bend County shall survey its employees to identify personnel who speak Spanish
fluently and, to the extent Fort Bend County in its sole discretion believes such employees can be
made available to provide assistance, allow and encourage such employees to serve at the polls on
election day. The County shall request that cities, school districts, and other entities that are
involved in elections conducted by Fort Bend County perform similar surveys of their employees.
The County shall also request each school district or other educational entity within the County to
devise and implement a program that allows and encourages bilingual students selected (as permitted
by state law and as part of an educational program devised by such district) to serve as poll officials
on election day for all County elections, including election days that fall on school days, with such
students receiving the pay and benefits provided by law for such poll officials. The County shall
advise counsel for the United States of any entity that does not participate fully in the event that there
is difficulty obtaining sufficient bilingual personnel.

9, The County shail invite eligible members of the Advisory Group, discussed below,
to serve as poll officials and to encourage other bilingual voters to do so.

10. In addition to the requirements of state law,

a. Any election precinct in which there are 100-249 registered voters with
Spanish surnames shall be staffed by at least one bilingual election official

or poll worker;
 

 

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b. Any election precinct in which there are 250-499 registered voters with
Spanish surnames shall be staffed by at least two bilingual election officials
or poll worker;
C. Any election precinct in which there are 500 or more registered voters with
Spanish surnames shall be staffed by at least three bilingual election officials
or poll worker;
d. Each early voting location shall be staffed by at least one bilingual election
official or poll worker; and
€. Defendant shall employ bilingual personnel, trained in Spanish language
election terminology, who shall be on call and available to travel to a precinct
or early voting location, insufficiently staffed by bilingual poll officials or
poll workers as required under Paragraph 10(a)-(d) above.
The parties may, by written agreement or recommendation of the Advisory Group, discussed
below, adjust these requirements in light of reliable information that the actual need for language
assistance in a particular polling place is lesser or greater than these standards or that the anticipated

voter turnout is substantially lower than average voter turnout.

11. Signs in both English and Spanish shall be posted prominently at all polling places
stating that Spanish language assistance is available. At sites without bilingual staff, signs in both

English and Spanish shall be posted that explain how voters can obtain Spanish language assistance.
 

 

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Election official training

12. Prior to each election, in addition to any required state or county training, the County

shall provide training to all poll officials and other election personnel present at the polls or early

voting locations regarding the following:

a.

The provisions of Section 208 of the Voting Rights Act, including the legal
obligation to allow anyone to assist the voter at the polls, other than the
voter’s employer or agent of that employer or officer or agent of the voter’s
union; and

The provisions of Section 4(f)(4) of the Voting Rights Act, including the
legal obligation and means to make Spanish language assistance and
materials available to voters, and the requirement that poll officials be
respectful and courteous to all voters regardless of race, ethnicity, color, or

language abilities and to avoid inappropriate comments; and

Section 302(a) of the Help American Vote Act, including the right of
individuals who are not, but believe they should be, listed in the voter
registration list to cast a provisional ballot and the obligation of the County
to provide provisional voters with information on how to ascertain the

outcome of their provisional ballots.

In addition to the general training for poll officials, the County shall provide training to all

bilingual poll officials on Spanish language election terminology, voting instructions, and other

election-related issues. The County shall maintain a record of which poil officials attend training
 

 

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sessions, including the time, location, and training personnel involved. The County shall allow

representatives of the Department of Justice to attend any training provided pursuant to this Decree.
Response to Complaints About Poll Officials

13. Defendant, upon receipt of complaints by voters, whether oral or written, shall
investigate expeditiously any allegations of poll official hostility toward Spanish-speaking and/or
Hispanic voters in any election conducted by Fort Bend County. The results of the investigation(s)
conducted by the Defendant shall be reported to the United States within 30 days. Where there is
credible evidence that poll officials have engaged in inappropriate treatment of Spanish-speaking or

Hispanic voters, Defendant shall remove those poll officials.

Spanish Language Election Program Coordinator

14. The County shal! designate an individual to coordinate the County’s Spanish language
election program (“the Coordinator”) for all elections within the County. The County shall provide
the Coordinator with support sufficient to meet the goals of the program. The Coordinator shall be
able to understand, speak, write, and read fluently both Spanish and English. The Coordinator’s
responsibilities shall include coordination of the translation of ballots and other election information;
development and oversight of Spanish publicity programs, including selection of appropriate Spanish
language media for notices and announcements; training, recruitment, and assessment of Spanish
language proficiency of bilingual poll officials and interpreters; and managing other aspects of the

program.
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Advisory Group

15. | The County shall establish an Advisory Group to assist and inform the Spanish
language election program as provided in Exhibit A, attached hereto. The Advisory Group shall be
open to any interested person or organization. The County shall maintain a roster of the Advisory
Group members together with the telephone and facsimile numbers or e-mail addresses of each
member. The Advisory Group shall meet regularly for six months prior to the first election
conducted by the County under the Decree, and at least once during the two months after the
election. Thereafter, the Advisory Group shall meet as it determines is necessary so long as it meets
at least three times during the six months before the November 2009 general election, at least once
during the two months after the November 2009 general election, and at least twice during the five
months before the November 2010 general election. The parties may by writing adjust the Advisory
Group’s meeting schedule after consultation with the Advisory Group. The Coordinator shall
provide notice of all planned meetings, including the date, time, location, and agenda at least 14 days
in advance of such meeting, although members of the Advisory Group may agree to waive or shorten
this time period as necessary. The Coordinator shall preside over all Advisory Group meetings and
shall have the right to direct participation of the Advisory Group so that meetings are focused on

promoting equal language access to election-related activities and other related issues.

16. Within five days after each meeting, the Coordinator shall provide a written summary
of the discussion and any decisions reached at the meeting to all Advisory Group members and to
the Election Administrator. If the Election Administrator decides not to implement an Advisory
Group’s suggestion or a consensus cannot be reached respecting such suggestion, the Election
Administrator shall provide to the Advisory Group through the Coordinator, and maintain on file,

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a written statement of the reasons for rejecting such suggestion. The County shall provide a copy
of each such summary and report to each member of the Advisory Group and to any additional

interested member of the public who requests such information.

17. The County shall transmit to all members of the Advisory Group, and to any
additional interested member of the public who requests such information, in English and Spanish,
copies of all election information, announcements, and notices that are provided or made available

to the electorate and general public, and request that they share such information with others.
Federal Observers

18. To monitor compliance with and ensure effectiveness of this Decree, and to protect
the Fourteenth Amendment rights of the citizens of Fort Bend County, the appointment of Federal
observers is authorized for Fort Bend County pursuant to Section 3(a) of the Voting Rights Act, 42

U.S.C, § 1973a(a), as long as the Decree is in effect.

19. Defendant shall recognize the authority of Federal observers to observe all aspects
of voting conducted in the polls on election day, including the authority to view County personnel

providing assistance to voters during voting, except where the voter objects.

Evaluation of plan

20. The parties recognize that regular and ongoing reassessment may be necessary to
provide the most effective and efficient Spanish language program. Defendant shall evaluate the
Spanish language election program after each election to determine which aspects of the program
are functioning well; whether any aspects need improvement; and how to effect needed

improvements. The program may be adjusted at any time upon joint written agreement of the

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parties.

Retention of Documents and Reporting Requirements

21. During the duration of this Decree, the County shall make and maintain written

records of all actions taken pursuant to this Decree and shall produce copies of such records to the

United States upon its request. See generally 42 U.S.C. §§ 1974, 1974b.

22. During the duration of this Decree, at least 30 days before each County administered

election held in the County, Defendant shall provide to counsel for the United States:

(a)

(b)

(c)

(d)

(e)

(f)

the name, address, and precinct designation of each polling place and early

voting location;

the name and title of each poll official appointed and assigned to serve at
each polling place and early voting location, as of the date the materials are

sent;

a designation of whether each poll official is bilingual in English and

Spanish;

an electronic copy of the voter registration list to be used in such elections as

of the date the materials are sent;

copies of any signs or other written information provided at polling places;

and

agendas and minutes from previous meetings of the Advisory Group.

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Within 45 days after each such election, the County shall provide to counsel for the United
States any updated report regarding changes in these items, as well as (1) information about all
complaints the County received at the election regarding language or assistance issues, and (2) the
name of the voters who cast a ballot at each early voting location. This information shall be sent by

express mail or electronically to the following address:

Voting Section

United States Department of Justice
Civil Rights Division

1800 G Street, N.W., Room NWB-7254
Washington, D.C. 20006

Facsimile: (202) 307-3961
Yvette.Rivera@usdoj.gov

Other Provisions

23. This Decree is final and binding between the parties and their successors in office
regarding the claims raised in this action. Defendant shall employ its best efforts to implement all
of the terms of this Decree by the May 9, 2009 municipal/school election conducted by the County.
Thereafter, Defendant must comply fully with the terms of this Decree, which shall remain in effect

through December 31, 2012.

24. The Court shall retain jurisdiction of this case to enter further relief or such other
orders as may be necessary for the effectuation of the terms of this agreement and to ensure
compliance with Sections 4(f)(4) and 208 of the Voting Rights Act and Section 302(a) of the Help

America Vote Act.

25. Within 20 days of the entry of this Decree, Defendant shall submit the voting

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changes occasioned by this Decree to the Attorney General pursuant to Section 5 of the Voting

Rights Act, 42 U.S.C. § 1973c.
 

 

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Agreed to this G4, day of Apti |_, 2009.

 

 

AGREED AND CONSENTED TO:
For Defendant:
For Plaintiff:
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Attorney General ROYAL. CORDES, JR. UV
Texas Bar No. 04821000
LORETTA KING County Attorney
Acting Assistant Attorney General Fort Bend County
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ROBERT E. HEBERT
COUNTY JUDGE
FORT BEND COUNTY, TEXAS

 
 

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JUDGMENT AND ORDER
This Court, having considered the United States’ claims under Sections 4(f)(4) and 208 of the
Voting Rights Act of 1965, as amended, 42 U.S.C. §§ 1973b(f)(4) and 1973aa-6, and Section
302(a) of the Help America Vote Act, 42 U.S.C. § 15482(a), and having determined that it has
jurisdiction over this claim, has considered the terms of the Consent Decree, and hereby enters

the relief set forth above and incorporates those terms herein.

Hh
ENTERED and ORDERED this | 3 day of 2009,

 

 

UNITED STATES DISTRICT JUDGE
 

 

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Exhibit A
SPANISH LANGUAGE ADVISORY GROUP

(a) Generally. The County will establish a “Spanish Language Advisory Group” to provide information and
advice to Commissioners Court and the Elections Administrator on the most effective and efficient means of
providing election materials, information and language assistance to Spanish-speaking voters who need such
assistance.

(b) Assistance. The Spanish Language Advisory Group shall provide advice to the Elections Administrator
regarding polling places that need (or do not need) workers fluent in both English and Spanish to provide oral
language assistance to voters in the Spanish language and the number of language assistants necessary at such
polling places to conduct a proper election. The Spanish Language Advisory Group shall provide assistance
and advice in recruiting bilingual workers to assist with elections.

(c) Materials. The Spanish Language Advisory Group shall provide assistance if necessary in reviewing or
creating the translation of election information and election materials.

(d) Membership/Eligibility. Commissioners Court shall appoint some of the members of the Spanish
Language Advisory Group as follows: Two (2) members shall be selected by each member of
Commissioners Court, two (2) members shall be selected by the Elections Administrator, and (1) member
shall be selected by the County Chair of each political party holding a primary election in the county. To be
eligible for appointment to the Spanish Language Advisory Group, a person (i) must be a United States
citizen, (ii) must be a registered voter, (iii) may not hold an elected public office, (iv) may not be a candidate
for public office as determined by Section 32.054 of the Election Code, (v) may not be employed by an
elected public officer or candidate for a public office as determined by Section 32.054 of the Election Code,
(vi) may not be related within the second degree of consanguinity or affinity (as determined under Chapter
573, Government Code) to an elected public officer or candidate for public office, and (vii) may not serve as a
campaign treasurer or campaign manager (as determined by Section 32.0551, Election Code) of an elected
public officer or candidate for public office. Any other interested person or organization may join the
Advisory Group and have full rights to participate.

(e) Terms. Appointed members of the Spanish Language Advisory Group shall serve two year terms that
begin on January 1st of odd-numbered years, except that members appointed in 2006 shall serve through
December 31, 2008. Appointed Advisory Group members who have served in past or current terms shall be
eligible for reappointment if they meet the eligibility requirements for membership.

(£) Meetings. The Spanish Language Election Program Coordinator shall serve as a facilitator for the Spanish
Language Advisory Group and shall provide staff assistance for taking and preserving the minutes of the
meetings of the Advisory Group. Meetings of the Advisory Group shall be open to the public and shall
provide an opportunity for public comments. Meetings of the Advisory Group shall be held at a minimum of
once per month during the three months prior to and one month after each primary or general election for state
and county officers in even-numbered years, and at least three times in odd-numbered years.
